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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


SUSAN M. MILES,

               Plaintiff,

v.                                                           Case No. 17-2685-DDC-TJJ

UNIFIED SCHOOL DISTRICT NO. 500,
KANSAS CITY, KANSAS and
VALERIE CASTILLO,

            Defendants.
____________________________________


                               MEMORANDUM AND ORDER

       The court commends parties who can resolve their litigated differences by settlement.

But settlements must be the product of the parties knowingly and voluntarily agreeing to resolve

their dispute. Here, plaintiff Susan M. Miles has filed a lawsuit in our court. She has sued her

former employer—defendant Unified School District No. 500, Kansas City, Kansas (“School

District”)—and her former supervisor—defendant Valerie Castillo. She asserts claims under the

Family Medical Leave Act (“FMLA”), the Americans with Disabilities Act (“ADA”), the

Employee Retirement Income Security Act (“ERISA”), and certain Kansas state employment

laws. See Doc. 1.

       In response, defendants have filed a Motion to Enforce Settlement (Doc. 6). It asks the

court to enforce a putative settlement agreement the parties supposedly agreed to before plaintiff

filed this case. Defendants’ motion also asks the court to dismiss this case. In a separate motion,

defendants contend that plaintiff failed to honor Federal Rule of Civil Procedure 11(b)(2) and

thus the court should sanction her. See Doc. 13.
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       For reasons explained below, the court denies both motions. In part I, the court explains

why it denies defendants’ Motion to Enforce Settlement. And, in part II, the court explains why

it denies the sanctions motion.

I.     Motion to Enforce Settlement

       In their Motion to Enforce Settlement, defendants ask the court to enter an order

enforcing a purported settlement agreement. On January 9, 2017, defendants assert, plaintiff and

the School District entered a Mutual Release and Separation Agreement (“Settlement

Agreement”). As part of this agreement, plaintiff voluntarily resigned her position with the

School District and released all claims against the School District and any of its employees—

including Ms. Castillo—for any claims arising from her employment.

       Defendants argue that the court “has the power to summarily enforce a settlement

agreement while a case is pending before the court.” Doc. 7 at 4 (citing United States v.

Hardage, 982 F.2d 1491, 1496 (10th Cir. 1993)). But United States v. Hardage involves a

different set of facts than presents itself here. In that case, the United States sued several waste

generators and transporters seeking to require them to clean up a Superfund Site. Id. at 1493.

The waste generators and transporters, in turn, asserted a Third-Party Complaint against a variety

of third-party defendants. Id. While the case was pending before the court, the government

settled with the waste generators and transporters and, likewise, the waste generators and

transporters settled with the third-party defendants. Id. The parties asked the court to enter a

consent decree but one third-party defendant claimed that the settlement between the waste

generators and transporters and it did not bind it because the third-party defendant liaison

counsel—who was the person who agreed to the settlement—did not have the power to negotiate

on that third-party defendant’s behalf. Id. The district court disagreed and entered an order



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approving the consent decree without holding an evidentiary hearing to determine whether the

third-party defendant liaison counsel had the authority to agree to a settlement agreement on

behalf of a third-party defendant. Id. at 1494.

       The Tenth Circuit then reversed the district court’s decision, holding that the district court

should have held an evidentiary hearing to determine whether the settlement agreement was

enforceable. Id. at 1497. The Circuit explained, “A trial court has the power to summarily

enforce a settlement agreement entered into by the litigants while the litigation is pending before

it.” Id. (emphasis added). In contrast, defendants, here, assert that the parties entered the

Settlement Agreement before this litigation began. Doc. 7 at 1 (“Accordingly, Defendants

respectfully request an order from this Court enforcing the settlement which Plaintiff and

Defendants entered prior to this litigation . . . .” (emphasis added)).

       A Supreme Court case explains why the court cannot enforce the settlement agreement

alleged here. In Kokkonen v. Guardian Life Insurance Co. of America, 511 U.S. 375 (1994), the

parties settled a lawsuit arising from the termination of an agency agreement while that suit was

pending before the district court. Id. at 376. The parties then submitted a Stipulation and Order

of Dismissal with prejudice under Fed. R. Civ. P. 41, and the district judge approved it. Id. at

376–77. So, the case was closed. Id. at 377. Shortly afterward, a dispute arose over the

settlement agreement and the defendant filed a motion to enforce the settlement agreement with

the district court where the case was pending. Id. Plaintiff opposed the motion, arguing that the

district court lacked subject matter jurisdiction. Id. The district court granted the motion to

enforce, explaining that it had “ʻinherent power’” to enter such an order. Id. (quoting district

court decision). The Ninth Circuit affirmed the ruling because the “ʻdistrict court has




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jurisdiction to decide the enforcement motion under its inherent supervisory power.’” Id.

(alterations omitted) (quoting Ninth Circuit opinion).

       The Supreme Court granted certiorari and reversed the Ninth Circuit. Id. The Court

explained its reason for reversing the Circuit, beginning with this well-established principle:

“Federal courts are courts of limited jurisdiction. They possess only that power authorized by

Constitution and statute.” Id. The Court held that no Federal Rule of Civil Procedure, federal

statute, or constitutional provision authorizes a court to enforce a settlement agreement after the

parties to the case have dismissed it. Id. at 378.

       But defendant argued that the district court had “ancillary jurisdiction” to enforce the

settlement agreement—that is, jurisdiction over matters that are incidental to matters properly

before the court. Id. The Supreme Court disagreed, holding that “ancillary jurisdiction”

provides no basis for the court to enforce the settlement agreement at issue in Kokkonen. Id. at

379. Earlier Supreme Court cases, Kokkonen explained, limited federal courts’ ancillary

jurisdiction to two situations: (1) permitting a court to dispose of claims that are

“interdependent;” and (2) allowing a court to manage its own proceedings, defend its authority,

and enforce its orders. Id. at 379–80. Kokkonen did not qualify for the first scenario because the

dispute over the settlement agreement involved completely different facts than those relied on by

the underlying claim. Id. at 380. Specifically, the original dispute arose from the termination of

the agency agreement; the settlement dispute arose from obligations purportedly imposed by a

settlement agreement. Id.

       Kokkonen didn’t qualify under the second scenario either because the settlement

agreement did not invoke or affect the district court’s authority in any way. Id. at 380–81. The

parties already had dismissed the case, so the court lacked any need to manage its own



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proceedings. Id. at 380. And because the court never had referenced or incorporated the

settlement agreement in an order, plaintiff’s alleged breach of the settlement agreement did not

implicate the court’s need to defend its authority or enforce one of its orders. Id. at 381. So, the

Supreme Court concluded, the district court lacked subject matter jurisdiction to enforce the

settlement agreement.

       Here, the court finds itself in a situation much like the court in Kokkonen. In both cases,

the party seeking to enforce the settlement claims the court may use its inherent power to enforce

the settlement. And neither party claimed that the Federal Rules of Civil Procedure, a statute in

the United States Code, or any provision in the Constitution authorizes enforcement. The court

concludes, as did Kokkonen, that it cannot use its inherent power to enforce the Settlement

Agreement because failing to enforce it would not invoke or affect the court’s authority in any

way. Nor is the dispute over the Settlement Agreement interdependent with any claim already

pending before the court. The Settlement Agreement claimed by defendants was not formed

while the parties’ case was pending before our court. So, to enforce it would not help the court

manage the proceedings pending before the court. Nor will declining to enforce the purported

agreement threaten the court’s capacity to manage its proceedings. Likewise, not even

defendants claim that the Settlement Agreement is part of some order entered by the court, much

like the agreement in Kokkonen. Finally, the parties’ dispute about enforcing the purported

agreement is unrelated to plaintiff’s underlying claims in the case. In short, the court lacks

subject matter jurisdiction to enforce the purported settlement.

       Plaintiff’s response to defendants’ motion suggests a different route. She argues that the

court should treat defendants’ motion as a motion for summary judgment because defendants’

motion asks the court, in effect, to dismiss the case. But, she observes, it relies on materials



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outside the Complaint. Doc. 8 at 4. In their Reply, defendants merely assert that they haven’t

made a motion for summary judgment and simply reiterate that the court has the power to

enforce a settlement agreement summarily. Doc. 12 at 2. Alternatively, defendants suggest, the

court should hold an evidentiary hearing to determine if the settlement agreement is enforceable.

Id. at 10.

        While the court readily acknowledges that the “law favors agreements to compromise and

settle disputes,” Lowery v. Cty. of Riley, 738 F. Supp. 2d 1159, 1168 (D. Kan. 2010), that policy

is no substitute for subject matter jurisdiction. See Kokkonen, 511 U.S. at 378. And though

defendants might assert an affirmative defense that would enable them to present this issue by a

properly supported summary judgment motion, the court cannot decide on the current record

whether the parties reached an agreement barring plaintiff from recovering on her claims.

        In short, the court denies defendants’ Motion to Enforce Settlement (Doc. 6) and directs

the parties to notify Magistrate Judge James that the case is ready for development of pretrial

procedures.

II.     Motion for Sanctions

        This leaves defendants’ motion for sanctions under Fed. R. Civ. P. 11. It contends,

generally, that plaintiff filed this suit frivolously because she released defendants from any

liability before she sued. See Doc. 13 at 2.

        The court cannot possibly conclude that defendants deserve sanctions without deciding

the merits of their claim that plaintiff agreed to a settlement. As Part I explained, the court

cannot decide that threshold question on the current record. It thus denies defendants’ Motion

for Sanctions (Doc. 13) without prejudice.




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III.      Conclusion

          For reasons explained above, the court denies defendants’ Motion to Enforce Settlement

(Doc. 6) and their Motion for Sanctions (Doc. 13).

          IT IS THEREFORE ORDERED BY THE COURT THAT defendants’ Motion to

Enforce Settlement (Doc. 6) is denied.

          IT IS FURTHER ORDERED THAT defendants’ Motion for Sanctions (Doc. 13) is

denied.

          IT IS SO ORDERED.

          Dated this 6th day of June, 2018, at Topeka, Kansas.



                                                     s/ Daniel D. Crabtree______
                                                     Daniel D. Crabtree
                                                     United States District Judge




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